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 IT IS ORDERED as set forth below:




 Date: October 1, 2020
                                                        _____________________________________
                                                                   Lisa Ritchey Craig
                                                              U.S. Bankruptcy Court Judge


_______________________________________________________________
             IN THE UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                               CASE NO. 18-68507-lrc

DONALD RENALDO WHITING, III AKA                      CHAPTER: 13
DONALD RENALDO WHITING AKA
DONALD RENALDOSHANAILE WHITING,                      JUDGE: HONORABLE LISA RITCHEY
III, AKA DONALD RENALDO SHANAILEY                    CRAIG
WHITING, III,

               Debtor.

PENNYMAC LOAN SERVICES, LLC,

               Movant,                               CONTESTED MATTER
v.

DONALD RENALDO WHITING, III AKA
DONALD RENALDO WHITING AKA
DONALD RENALDOSHANAILE WHITING,
III, AKA DONALD RENALDO SHANAILEY
WHITING, III, Debtor
MELISSA J. DAVEY, Trustee,

               Respondent(s).


            CONSENT ORDER ON MOTION FOR RELIEF FROM STAY (#41)
         The above styled Motion having been scheduled for a hearing before the Court
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on September 15, 2020, upon Notice of Assignment of Hearing to each of the above-captioned

parties in interest, and it appearing to the Court that the parties consent hereto:

       FURTHER IT IS HEREBY ORDERED that the Motion for Relief from Stay with respect

to 1162 LeHavre Court, Hampton, Georgia 30228 is denied, as the parties herein agree that the

interest of Movant is adequately protected by payment and performance as more particularly set

forth hereinafter.

       FURTHER ORDERED that the post-petition arrearage through September 1, 2020,

totals $13,135.28, including nine (9) payments of $1,344.92 each, $181.00 for a filing fee and

$850.00 in reasonable attorney's fees.

       This arrearage shall be paid as follows:

       Movant acknowledges suspense funds in the amount of $685.49. Debtor is
       ordered to pay the sum of $5,379.80 instanter. Beginning October 1, 2020,
       Debtor shall resume timely remittance of the regular monthly mortgage payments.
       Beginning October 15, 2020 and continuing on the 15th day of each subsequent
       month, Debtor shall pay an additional $785.55 per month, for eight (8) months
       and one (1) payment of $785.59, or until the arrearage is cured. Payments should
       be sent to:

       PennyMac Loan Services, LLC
       PO Box 660929
       Dallas, TX 75266-0922

       or to such address as may be designated.


       FURTHER ORDERED that should Debtor(s) default in payment of any sum specified

herein, or in any regular monthly mortgage payments which come due according to Movant’s

Loan Documents for a period of eighteen (18) months from the date of entry of this order,

then upon notice of default sent by first class mail to Debtor(s), attorney for Debtor(s) and the

Trustee, and failure of Debtor(s) to cure such default within ten (10) days from the date of receipt

of such notice, Movant may file a motion and affidavit of default, with service upon Debtor(s),
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attorney for Debtor(s) and the Trustee, and the Court may enter an Order modifying the

automatic stay, without further notice or hearing.

       FURTHER ORDERED that in the event relief from the automatic stay is later granted,

the Trustee shall cease funding any balance of Movant’s claim, and the provisions of Fed. R.

Bank. P. 4001(a)(3) may be waived.

       FURTHER ORDERED that upon completion of any foreclosure sale, any funds in excess

of the amount due to Movant and to any subordinate lienholder(s) properly entitled to receive

proceeds under applicable State Law that would otherwise be payable to the Debtor(s), shall be

paid to the Trustee for the benefit of the Estate while the Debtor(s) remains in bankruptcy.



                                    [END OF DOCUMENT]

CONSENTED TO BY:

 /s/ Bryce Noel
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 Attorney for Movant
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/s/ Thomas Reichard_ with express                    NO OPPOSITION:
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